               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                          Plaintiff,               Case No. 15-CR-83-JPS-5
 v.

 DIONTE BERNARD,

                          Defendant.                               ORDER

       On November 3, 2016, the defendant, Dionte Bernard, was charged in

two counts of an eleven-count Superseding Indictment, which alleged

violations of Title 21, United States Code, Sections 841(a)(1) and 846. (Docket

#83). The defendant has also been charged in a one-count Information, which

alleges a violation of Title 18, United States Code, Sections 922(g)(3) and

924(a)(2). (Docket #184). On June 27, 2016, Mr. Bernard filed a plea agreement

resolving the pending charges against him; specifically, the defendant agreed

to waive prosecution by indictment in open court and to plead guilty to the

charge contained in the Information. (Docket #182).

       The United States of America and Mr. Bernard appeared before

Magistrate Judge William E. Duffin on June 20, 2016, pursuant to Federal

Rule of Criminal Procedure 11. (Docket #206, #220). Mr. Bernard waived

indictment and pled guilty to the offense charged in the information. (Docket

#220, #225). After cautioning and examining Mr. Bernard under oath

concerning each of the subjects mentioned in Rule 11, Magistrate Duffin

determined that the guilty plea was knowing and voluntary, and that the

offense charged was supported by an independent factual basis containing

each of the essential elements of the offense. (Docket #220, #225).




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       Thereafter, Magistrate Duffin filed a Report and Recommendation

with this Court, recommending that: (1) Mr. Bernard’s plea of guilty be

accepted; (2) that a presentence investigation and report be prepared; and (3)

that Mr. Bernard be adjudicated guilty and have a sentence imposed

accordingly. (Docket #225). Pursuant to General L. R. 72(c) (E.D. Wis.), 28

U.S.C.§ 636(b)(1)(B), and Federal Rules of Criminal Procedure 59(b) or 72(b)

if applicable, the parties were advised that written objections to that

recommendation, or any part thereof, could be filed within fourteen days of

the date of service of the recommendation.

       To date, no party has filed such an objection.

       The Court has considered Magistrate Duffin’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s report and

recommendation (Docket #225) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 11th day of August, 2016.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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